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                         United States District Court
                          Middle District of Florida
                            Jacksonville Division

HOWMEDICA OSTEONICS CORP.,

            Plaintiff,

v.                                                NO. 3:21-cv-789-BJD-PDB

ALPHATEC SPINE, INC.,

            Defendant.


                                    Order

      On September 30, 2022, the plaintiff’s counsel emailed chambers to
report that exhibit 2 (Doc. 47-3) to the plaintiff’s response in opposition (Doc.
47) to the defendant’s motion to compel (Doc. 45) was inadvertently filed
without redacting confidential information. By the close of business today,
the plaintiff must file a redacted version of exhibit 2, and the clerk must
designate the unredacted version of exhibit 2 in a way that only the parties
and the Court can view the exhibit. If a party wants the Court to consider the
redacted information to resolve the discovery dispute, the party interested in
maintaining confidentiality must provide good cause for continued redaction.

      Ordered in Jacksonville, Florida, on October 3, 2022.




Attachment (email from plaintiff’s counsel)
